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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION

     In Re FLINT WATER LITIGATION CASES

     _____________________________/                         Hon. Judith E. Levy

     This document relates to:                              Mag. Judge Elizabeth A. Stafford

     ALL CASES, including

     Carthan, et al. v. Snyder, et al
     Case No. 5:16-cv-10444

     Walters, et al. v. City of Flint, et al
     Case No. 5:17-cv-10164

 _____________________________________________________________________________

                               STIPULATION TO STAY PROCEEDINGS
                               RELATING TO THE LAN DEFENDANTS

            The Class Plaintiffs and Individual Plaintiffs (collectively “Plaintiffs”), on the one hand,

 and Leo A Daly Company, Lockwood, Andrews & Newnam, Inc. and Lockwood, Andrews &

 Newnam, P.C. (collectively the “LAN Defendants”), on the other, having reached a confidential

 settlement in principle of all claims by the Plaintiffs against the LAN Defendants, hereby agree

 and stipulate to this Court’s entering a stay of all proceedings against the LAN Defendants, 1 in

 support of which they state as follows:

            1.          The Court’s “power to stay proceedings is incidental to the power inherent in

 every court to control the disposition of the causes on its docket with economy of time and effort




 1 Attorney General Dana Nessel on behalf of the People of the State of Michigan is also party to
 the settlement, but is not a party in any federal court proceedings and therefore is not a signatory
 to this Stipulation. Attorney General Nessel will be a signatory to a similar Stipulation to Stay
 Proceedings filed contemporaneously herewith in state court.

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 for itself, for counsel, and for litigants.” Landis v. N. Amer. Co., 299 U.S. 248, 254 (1936); see

 also Clinton v. Jones, 520 U.S. 681, 706 (1997) (“The District Court has broad discretion to stay

 proceedings as an incident to its power to control its own docket.”).

        2.          The Plaintiffs and the LAN Defendants have reached a confidential settlement

 in principle of all claims by the Plaintiffs against the LAN Defendants in all pending Flint Water

 Cases litigation in federal and state court.

        3.          The settlement in principle provides the parties to the agreement at least three

 weeks to finalize the terms of the agreement. Plaintiffs and the LAN Defendants wish to finalize

 the settlement without burdening this Court with additional filings and without incurring

 unnecessary litigation expenses in the interim.

        4.          Accordingly, Plaintiffs and the LAN Defendants agree that this Court should

 enter a forty-five (45) day stay of all proceedings as to the LAN Defendants so that these parties

 can focus on finalizing the settlement agreement. This stay would include all pleading, discovery,

 filing and disclosure deadlines and all discovery and depositions (if any) of LAN witnesses in

 every Flint Water Litigation case.

        5.          Plaintiffs and the LAN Defendants stipulate that this stay of proceedings applies

 only to the LAN Defendants and does not apply to any pleading, discovery, filing or disclosure

 deadlines or any discovery and depositions (if any) of the VNA Defendants.

        6.          As provided in ECF Rule 11(c), Plaintiffs and the LAN Defendants request that a

 text-only order be entered granting this stipulation.

 DATED: July 6, 2023.




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 STIPULATED AND AGREED TO:

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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing instrument was served on all counsel of record
 on July 6, 2023 in accordance with the provisions of the Federal Rules of Civil Procedure.

                                              /s/ David C. Kent
                                              David C. Kent




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